Case 8:18-cV-OO728-EAK-TGW Document 35 Filed 06/28/18 Page 1 of 2 Page|D 135

UNl'l`lED S'l`/\TES DIS'I`RIC'I` C()UR'!`
MlDDLE DlSTRlCT OF FLOR|DA
TAl\/lPA DIVISl()N

ROBERTA BURKE,
Plaintif`f`,
v. C/\S[i No. 8:18-cv-728-T-17TGW

CREDlT ONE BANK. N.A., and
FIRST CONTAC'I`, llLCi

Del`endants.

 

ORDER

'l`I-llS CAUSE came on l"or consideration upon the plaintiff’s
l\/lotion to Appear Pro Hac Vice, Consent to Designation, and Request to
Electronically Reccive Notices ol`l§leclronic l-`iling (Doc. 33). 'l`he applicant,
Theodore l-l. Kuyper, has designated local counsel pursuant to Local Rule 2.02,
has submitted the required filing l`ee, and certifies that he will comply with the
email registration requirement ol`Local Rule Z.OI(d).

lt is, therefore, upon consideration,

ORDERED:

Thal the plaintil`l`s Motion to Appear Pr() Hac Vice, Consent to

Designation, and Request to lilectronically Rcceive Notices ol` lilectronic

Case 8:18-cV-OO728-EAK-TGW Document 35 Filed 06/28/18 Page 2 of 2 Page|D 136

Filing (Doc. 33) be, and the same is hereby, GRANTED.

'?~i_
DONE and ()RDERED at 'l`ampa, Florida, this §§ day of`.lune,

%hm¢ /@_\WVB,_N

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

2018.

 

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